             IN THE DISTRICT COURT OF THE UNITED STATES
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                               1:13cr25


UNITED STATES OF AMERICA,                    )
                                             )
       v.                                    )
                                             )         MEMORANDUM AND
2) CRISTIAN NEVAREZ BELTRAN                  )         RECOMMENDATION
3) JORGE ALBERTO BERNAL,                     )
                                             )
          Defendants.                        )
____________________________                 )


       THIS MATTER is before the Court upon Defendant Beltran’s Motion to

Suppress (#27) and the Motion to Adopt Motion (#45) made by Defendant Bernal.

The undersigned conducted a hearing on January 22, 2014, and heard evidence

from the Government and arguments from counsel. Having carefully considered

the evidence, briefs, and arguments of counsel, the Court enters the following

findings, conclusions, and recommendation.

                         FINDINGS AND CONCLUSIONS

I.     Procedural Background

       The grand jury issued a Bill of Indictment (#1) on April 2, 2013, charging

Defendants Beltran, Bernal and co-defendant Juan Francisco Alfaro with various

criminal offenses. In count one, all three Defendants are charged with conspiring

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to possess with intent to distribute at least 50 grams of methamphetamine in

violation of 21 U.S.C. § 841(a)(1) and 846. In count two, Mr. Beltran is charged

with possessing a firearm in or affecting commerce while he was an alien illegally

and unlawfully in the United States, in violation of 18 U.S.C. § 922(g)(5)(A) and

924. In count three, Mr. Bernal is charged with possessing a firearm in or affecting

commerce while he was an alien illegally and unlawfully in the United States, in

violation of 18 U.S.C. § 922(g)(5)(A) and 924.

      Defendant Beltran filed a Motion to Suppress (#27) on May 29, 2013. On

June 25, 2013, the Government filed a response to the motion (#32). On August

23, 2013, Defendant Bernal filed a motion to adopt Defendant Beltran’s motion

(#45) to which the Government filed a response (#46) stating that the Government

did not object to the motion. Accordingly, the undersigned allowed Beltran’s

motion by Order (#47) on September 25, 2013.

      By Order (#59) filed on November 6, 2013, the undersigned ordered that

recordings made of telephone conversations and an oral conversation that Mr.

Alfaro had with a confidential informant be translated from Spanish into English

and that a written transcript of such recordings in both languages be prepared.

      Defendants Beltran and Bernal consented to have the motions to suppress

heard jointly. (T. p. 2.) The undersigned provided counsel for both Mr. Beltran


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and Mr. Bernal a period of one week after the hearing to submit supplemental

briefs, but such briefs were not filed.

II.     Factual Background

        A. Detective Emanuel Zaragoza

        At the hearing, the Government called Detective Emanuel Zaragoza as a

witness. Detective Zaragoza has been employed as a law enforcement officer with

the Henderson County, North Carolina Sheriff’s Office for twelve years and has

been a detective with the Narcotics Unit for four and one-half years. (T. p. 4.) He

is also a Task Force Officer with the Homeland Security Investigation Task Force.

(T. p. 5.)   On December 19, 2012, Detective Zaragoza was working with a

confidential informant for the purposes of investigating narcotics trafficking. (T.

pp. 7-8.) The informant owned a garage located on a public road known as “Tracy

Grove Extension” in Hendersonville, North Carolina. (T. p. 7.) The informant

told Detective Zaragoza that Juan Alfaro had offered to sell ounce quantities of

methamphetamine to the confidential informant. (T. pp. 8, 64.) The informant

took Detective Zaragoza to the residence of Mr. Alfaro, which was located off of

Jackson Loop Road in Flat Rock, North Carolina. (T. pp. 8-9.)

        On January 22, 2013, Detective Zaragoza had the confidential informant

place a recorded telephone call to Mr. Alfaro in an attempt to purchase


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methamphetamine from Mr. Alfaro. (T. p. 9.) The conversation was conducted in

Spanish, which was understood by Detective Zaragoza who has spoken Spanish all

of his life. (T. p. 10.) Detective Zaragoza not only recorded the telephone call, but

was also able to listen to the conversation as it occurred live. (T. pp. 10, 36-38.)

During the conversation, Mr. Alfaro stated he wanted to meet with the confidential

informant in person at the confidential informant’s place of business for the

purpose of discussing the price of the methamphetamine. (T. pp. 12-13.) A

meeting was scheduled between the confidential informant and Mr. Alfaro for the

next morning. (T. pp. 12-13.)

      On January 23, 2013, Detective Zaragoza and DEA Task Force Officer

Aaron Lisenbee met with the confidential informant for the purpose of having the

informant place another recorded telephone call to Mr. Alfaro. (T. p. 13.) In the

telephone call, Mr. Alfaro again agreed to meet the confidential informant.

Detective Zaragoza and Task Force Officer Lisenbee then installed upon the body

of the informant a device that records oral conversations and also transmits them so

they can be heard by others in real time. (T. p. 14.) After installing the device on

the confidential informant, Detective Zaragoza, Task Force Officer Lisenbee and

thirteen other officers took up surveillance positions in order to hear the

conversations between Mr. Alfaro and the confidential informant, and so they


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could monitor the proposed drug transaction. (T. pp. 14, 42.)

      Mr. Alfaro arrived at the confidential informant’s place of business in a

green Ford truck that was registered to Mr. Alfaro. (T. p. 15.) Mr. Alfaro and the

informant discussed the price of the methamphetamine, which Mr. Alfaro said

would cost $1,200 per ounce. (T. p. 16.) The confidential informant asked Mr.

Alfaro if there could be a better price, and Mr. Alfaro stated he would have to call

his source of supply. (T. pp. 16, 51.) Mr. Alfaro then stepped outside to place the

call. (T. p. 16.) From his position, Detective Zaragoza saw Mr. Alfaro use his cell

phone to make the call. (T. p. 16.)

      After a few minutes, Mr. Alfaro went back inside the garage and told the

confidential informant the price was firm at $1,200 per ounce. (T. p. 16.) The

informant then ordered four ounces of methamphetamine from Mr. Alfaro. (T. p.

16.) At that point, Mr. Alfaro told the confidential informant that Mr. Alfaro had

to go home and pick up his work truck, but that he would be back to deliver the

four ounces of methamphetamine to the confidential informant.            (T. p. 16.)

Detective Zaragoza, Task Force Officer Lisenbee, and a number of other officers

then followed Mr. Alfaro to his residence and observed him go inside his house

before getting into a white Ford F250 truck which had a flat bed and work tools

located upon it. (T. pp. 17, 44-49.) The officers then followed Mr. Alfaro, who


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was operating the white Ford truck, to a Waffle House restaurant located on Sugar

Loaf Road in Hendersonville, North Carolina. (T. p. 17.)

      At the Waffle House, Mr. Alfaro went inside and ate with Defendants

Beltran and Bernal. (T. p. 18.) After eating, Mr. Alfaro, Mr. Beltran, and Mr.

Bernal exited the restaurant. (T. p. 19.) Mr. Alfaro entered his white Ford truck,

and Mr. Beltran and Bernal entered a black Chevrolet pickup truck. (T. p. 19.)

The two vehicles traveled in tandem a distance of two to three miles to the

Henderson Crossing Shopping Center, which is approximately 100 yards from the

confidential informant’s garage. (T. pp. 19, 20-22.) At the shopping center, both

the white Ford truck and the black Chevrolet pickup truck parked. (T. p. 19.) Both

Mr. Bernal and Mr. Beltran exited the black Chevrolet pickup truck and got into

the white Ford truck that Mr. Alfaro was operating. (T. p. 19.) Detective Zaragoza

saw Mr. Beltran carrying an orange lunch box from the black Chevrolet truck,

which Mr. Beltran placed in the white Ford truck. (T. p. 19.) In the opinion of

Detective Zaragoza, four ounces of methamphetamine could fit into the lunch box.

(T. p. 20.) Mr. Alfaro then operated the white Ford truck across Dana Road and

through the parking lot of a Shell gas station onto Tracy Grove Extension,

traveling in the direction of the confidential informant’s garage. (T. p. 20.) At that

time, Task Force Officer Lisenbee directed Officer David McMurray, who was an


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interdiction officer, to conduct a vehicle stop of the white Ford work truck. Officer

McMurray did so at a point when the white Ford work truck was approximately

forty yards from the confidential informant’s garage. (T. pp. 20, 56.)

      After the white Ford truck was stopped by Officer McMurray, a search was

conducted and four ounces of methamphetamine was found in the orange lunch

box. (T. p. 23.) Detective Zaragoza testified that he and Task Force Officer

Lisenbee had reasonable suspicion to direct the stop the white Ford work truck

based upon what had been heard from the telephone calls between the confidential

informant and Mr. Alfaro, what had heard in the meeting between the confidential

informant and Mr. Alfaro, and what had been seen in the travels of Mr. Alfaro to

his home and travel back to the confidential informant’s garage, all of which

confirmed what Mr. Alfaro had stated about the delivery of the methamphetamine.

(T. pp. 32-33, 50-52, 87.)

      The Government introduced without objection the following exhibits:

      Exhibit (1) - which is a CD containing recordings of telephone calls between

      the confidential informant and Mr. Alfaro;

      Exhibit (2) - which is a CD containing recordings from the “Kel” which was

      the recording and transmitting device the confidential informant was

      wearing;


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  Exhibit (1A) - which is a transcript both in Spanish and in English of

  telephone calls between the confidential informant and Mr. Alfaro on

  January 22, 2013 at 6:30 p.m.;

  Exhibit (1B) - which is a transcript both in Spanish and in English of a

  telephone conversation from Mr. Alfaro to the confidential informant of

  January 22, 2013; (T. p. 38.)

  Exhibit (1C) – which is a transcript both in Spanish and English of a

  telephone call from the confidential informant to Mr. Alfaro of January 22,

  2013 at 6:45 p.m.;

  Exhibit (1D) – which is a transcript both in Spanish and English of a

  telephone call from the confidential informant to Mr. Alfaro of January 23,

  2013 at 7:51 a.m.;

  Exhibit (2A) – which is a transcript in both Spanish and English of the “Kel”

  recording of January 23, 2013;

  Exhibit (3) – a Google map of 100 Sugarland Road, Hendersonville, North

  Carolina;

  Exhibit (4) – an aerial photograph of 100 Sugarland Road, Hendersonville,

  North Carolina;

  Exhibit (5) – a Google map of Hendersonville Crossing in Hendersonville,


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         North Carolina;

         Exhibit (6) – an aerial photograph of Hendersonville Crossing Plaza and

         Tracy Grove Road;

         Exhibit (7) – a Google map of 100 Sugar Loaf Road, Hendersonville, North

         Carolina;

(T. pp. 24-32.)

         At the request of counsel for Defendant, the Court has listened closely to all

recordings.     The Court has limited ability to understand the speaking of the

Spanish language but has listened carefully to the recordings in conjunction with

reviewing the transcripts that have been prepared.

         Detective Zaragoza had met the informant several years ago and had been

using the confidential informant as an informant for about three years. (T. pp. 60-

61.) The informant, on occasion in the past, has been paid by the Sheriff’s Office

for his services. (T. pp. 61-62.) No further evidence was introduced by the

Government. Neither Defendant introduced any evidence.

III.     Discussion

   A. The Stop of the Vehicle did not Violate the Fourth Amendment

         The Fourth Amendment to the United States Constitution provides:

         The right of the people to be secure in their persons, houses, papers,
         and effects, against unreasonable searches and seizures, shall not be

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      violated, and no warrants shall issue but upon probable cause,
      supported by oath or affirmation and particularly describing the place
      to be searched and the persons or things to be seized.

U.S. Const. amend 4. Pursuant to the exclusionary rule, “evidence obtained in

violation of the Fourth Amendment cannot be used in a criminal proceeding

against the victim of the illegal search and seizure.” United States v. Calandra, 414

U.S. 338, 347, 94 S. Ct. 613, 619 (1974).

      A vehicle stop is permitted when the facts as known by the stopping officers

give rises to the level of reasonable articulable suspicion that the vehicle’s

occupants were engaged in unlawful conduct. United States v. Arvizu, 534 U.S.

266, 273-275 (2002). Whether reasonable suspicion exists depends on the totality

of circumstances known to the officers stopping the vehicle, including any

reasonable inferences, drawn at the time of the stop. It is the collective weight of

the circumstances and inferences that support a reasonable suspicion, because even

a series of acts, each capable of an innocent explanation, can collectively support a

reasonable suspicion. Id. at 277-78. Though a mere hunch is insufficient to justify

a stop, reasonable suspicion is not a heavy burden, and a court “must give due

weight to common sense judgments reached by officers in the light of their

experience and training.” Id. at 273-274. The likelihood of criminal activity need

not rise to the level required for probable cause and it falls considerably short of


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satisfying a preponderance of the evidence standard. Id. at 274. In addition, a

passenger in a vehicle that officers stop, such as Mr. Beltran or Mr. Bernal, may

challenge the constitutionality of the stop itself. Brendlin v. California, 551 U.S.

249 (2011)

      Based upon the totality of the circumstances in this case, Officers Zaragoza

and Lisenbee had a reasonable and articulable suspicion that the occupants of the

white Ford truck were engaged in unlawful conduct. On December 19, 2012, the

confidential informant told Detective Zaragoza that the co-defendant Juan Alfaro

had   offered   to   sell   the   confidential    informant   ounce     quantities    of

methamphetamine.      (T. pp. 8, 64.)         The informant had provided reliable

information to Detective Zaragoza in the past. (T. pp. 61-62.)

      On January 22, 2013, the confidential informant placed a telephone call that

was monitored and recorded by Detective Zaragoza to Mr. Alfaro. (T. pp. 9-13.)

In the call the confidential informant offered to purchase the methamphetamine

that had been offered by Mr. Alfaro. (T. pp. 9-13.) Through that recorded call, as

well as two subsequent recorded telephone calls made on January 22, 2013, the

confidential informant and Mr. Alfaro entered into an agreement to meet the next

day at the confidential informant’s garage business. (T. p. 13.) On January 23,

2013, Mr. Alfaro came to the garage and met with the confidential informant. This


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conversation was recorded and monitored by Detective Zaragoza. (T. pp. 15-16.)

Through this recorded and monitored conversation, the negotiations of the

confidential informant and Mr. Alfaro were heard by Detective Zaragoza. The

confidential informant and Mr. Alfaro agreed to a price of $1,200 for Mr. Alfaro’s

sale of four ounces of methamphetamine. (T. p. 16.) During the negotiations, Mr.

Alfaro made a telephone call to his source of supply, which indicated to Detective

Zaragoza and Officer Lisenbee that at least one other person was involved in the

distribution of methamphetamine. (T. p. 16.)

       Mr. Alfaro then left to get his work truck and stated he would be back to

deliver the methamphetamine. (T. p. 16.) Mr. Alfaro was then followed to his

home by the officers, where the officers conducted surveillance as he went into his

home and then left in his white Ford truck. (T. p. 17.) The officers then followed

Mr. Alfaro to a restaurant where the officers saw him dining with Mr. Beltran and

Mr. Bernal. (T. p. 18.) The officers then followed the three defendants to a parking

lot where Mr. Beltran and Mr. Bernal entered into the white Ford truck that Mr.

Alfaro was operating. (T. p. 19.) The officers observed Mr. Beltran carrying an

orange lunch box and placing it in the white Ford work truck. (T. p. 19.) The lunch

box was of such size as it could contain the methamphetamine. (T. p. 20.) The

truck then traveled in the direction of the confidential informant’s garage, which


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was the place where the methamphetamine was to be delivered to the confidential

informant. (T. pp. 32-33.) At that point, Detective Zaragoza and Officer Lisenbee

directed the stop of the white Ford work truck by interdiction Officer David

McMurray. (T. p. 20.) These circumstances show a reasonable and articulable

suspicion that the occupants of the white Ford work truck were engaged in

unlawful conduct, that being the delivery of methamphetamine for sale to the

confidential informant.   In summary, the totality of the circumstances of the

contract for the purchase of the methamphetamine by the confidential informant

from Mr. Alfaro justified Detective Zaragoza and Officer Lisenbee in having a

reasonable suspicion of criminal conduct sufficient to direct the stop of the white

Ford truck. The decision to stop the white Ford work truck was well within the

bounds of the Fourth Amendment.

      Not only was there reasonable articulable suspicion of criminal activity

witnessed by Detective Zaragoza and Officer Lisenbee, the level of criminal

activity committed by Mr. Alfaro, and known to those officers, additionally created

probable cause to not only stop the vehicle operated by Mr. Alfaro, but also to

arrest him. As the Fourth Circuit has explained:

      A warrantless arrest is constitutionally permissible if there is probable
      cause for the arresting officer to believe that a felony is being or has
      been committed by the arrested individual. See United States v.
      McCraw, 920 F.2d 224, 227 (4th Cir. 1990). Probable cause to arrest

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      exists if the facts and circumstances within the arresting officers’
      knowledge at the moment the arrest is made would be sufficient for a
      prudent man to believe that the defendants had committed an offense.
      United States v. Dorlouis, 107 F.3d 248, 255 (4th Cir. 1997). “While
      probable cause requires more than bare suspicion, it requires less than
      that evidence necessary to convict.” United States v. Gray, 137 F.3d
      765, 769 (4th Cir. 1998) Even “seemingly innocent activity” can
      provide the basis for probable cause when considered in the context of
      the surrounding circumstances. Taylor v. Waters, 81 F.3d 429, 434
      (4th Cir. 1996).

United States v. Joy, 336 Fed. App’x 337, 339 (4th Cir. 2009) (unpublished).

      The facts known to Detective Zaragoza supported not only his and Task

Force Officer Lisenbee’s decision to direct the stop of the white Ford truck, but

also was sufficient to create probable cause to arrest Mr. Alfaro.       Detective

Zaragoza had heard the telephone calls to and from Mr. Alfaro and the confidential

informant wherein Mr. Alfaro agreed to negotiate the sale of methamphetamine.

Detective Zaragoza further overheard the negotiations concerning the price of the

methamphetamine, the timing of delivery of the methamphetamine, and also the

type of vehicle that would be used to deliver the methamphetamine to the

confidential informant by Mr. Alfaro. Detective Zaragoza and Task Force Officer

Lisenbee followed Mr. Alfaro to his home and saw he had obtained his “work

truck”. Detective Zaragoza had witnessed Mr. Alfaro in his white Ford work truck

along with Defendants Beltran and Bernal approach the place of delivery of

methamphetamine. These facts establish probable cause to believe that Mr. Alfaro

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was committing, in Detective Zaragoza’s presence, the offense of delivery with

intent to sell methamphetamine.

       At the hearing of the motions, counsel for the Defendant argued that the

decision to stop the vehicle was based totally upon the creditability of statements

made by the confidential informant. This Court does not find that to be a correct

description of the facts. Detective Zaragoza monitored and heard the telephone

conversations scheduling the meeting to discuss the sale of the methamphetamine

by Mr. Alfaro to the confidential informant. He further overheard, by use of the

listening device, the negotiations and the agreement that was reached and the plans

of Mr. Alfaro to deliver the methamphetamine. Detective Zaragoza and Officer

Lisenbee saw Mr. Alfaro travel to his home and obtain his white Ford truck, and

then saw him with the Defendants Beltran and Bernal and witnessed them travel to

a point less than forty yards away from the proposed point of delivery of the

methamphetamine. The creditability of the confidential informant is not an issue

in this case.

   B. Defendants Beltran and Bernal do not have Standing to Suppress the
      Results of the Search of the White Ford Truck

       Although Mr. Beltran and Mr. Bernal have standing as passengers to object

to the stop of the white Ford work truck, both Beltran and Mr. Bernal each lack

standing to challenge any search of the white Ford work truck. As a threshold

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matter, absent some interest in the automobile subject to the search, a mere

passenger in the automobile lacks standing to challenge the legality of the search of

the vehicle. See Rakas v. Illinois, 439 U.S. 128 (1978). Moreover, the burden of

proving a reasonable expectation of privacy in the area searched is upon the

Defendants. As the Fourth Circuit has explained:

      As we perceive the relevant principles, it devolves upon one seeking
      suppression of incriminating evidence to establish as a threshold
      matter the existence of a reasonable expectation of privacy in the area
      searched. United States v. Torch, 609 F.2d 1088, 1091 (4th Cir. 1979)
      (“The test for whether a person may have evidence obtained in an
      unlawful search and seizure suppressed is whether the person had ‘a
      reasonable expectation of freedom from government intrusion in the
      invaded place’.”)

United States v. Ramapuram, 632 F.2d 1149, 1154 (4th Cir. 1980).

      Here, neither Mr. Beltran nor Mr. Bernal presented any evidence of any

reasonable expectation of privacy that either of them had in the white Ford truck.

In addition, neither Mr. Beltran nor Mr. Bernal presented any claim of ownership

or possessory interest in the vehicle. Rather, all the evidence shows that it was

owned and operated by Mr. Alfaro. (T. pp. 17-20.) Because neither Mr. Beltran

nor Mr. Bernal claimed any ownership or possessory interest in the white Ford

truck and they failed set forth any reasonable expectation of privacy in the

vechicle, neither of them have standing under the Fourth Amendment to challenge

the search or the property seized therefrom. United States v. Carter, 300 F.3d 415,

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421 (4th Cir. 2002); United States v. Rusher, 966 F.2d 808, 874-875 (4th Cir.

1992); Ramapuram, 632 F.2d at 1154.

   C. There was Probable Cause to Search both the Vehicle and the Lunch
      Box.

      Even assuming that Defendants had standing to challenge the search of the

white Ford truck, the undersigned finds that the officers had probable cause to

believe that methamphetamine was located in the truck and to search the truck

without a warrant. In Carroll v. United States, 267 U.S. 132 (1925), the Supreme

Court considered the problem of obtaining a search warrant for a vehicle that law

enforcement officials had probable cause to believe contained contraband. The

Court held that “contraband goods concealed and illegally transported in an

automobile or other vehicle may be searched for without a warrant” where

probable cause exists. Carroll, 267 U.S. at 153. Later, the Supreme Court in

United States v. Ross, 456 U.S. 798 (1982) explained the Carroll principles in

regard to containers found in a stopped vehicle as follows:

      “The Fourth Amendment proscribes all unreasonable searches and
      seizures, and it is a cardinal principle that ‘searches conducted outside
      the judicial process, without prior approval by judge or magistrate, are
      per se unreasonable under the Fourth Amendment-subject only to a
      few exceptions.’ Katz v. United States, 389 U.S. 347, 357, 88 S.Ct.
      507, 514, 19 L.Ed.2d 576 (footnotes omitted).”

      The exception recognized in Carroll is unquestionably one that is
      “specifically established and well delineated.” We hold that the scope

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      of the warrantless search authorized by that exception is no broader
      and no narrower than a magistrate could legitimately authorize by
      warrant. If probable cause justifies the search of a lawfully stopped
      vehicle, it justifies the search of every part of the vehicle and its
      contents that may conceal the object of the search.

      The Supreme Court further considered the Carroll and Ross doctrines in

relation to the search of passengers’ belongings found in a vehicle subject to

searches in Wyoming v. Houghton, 526 U.S. 295 (1999). As the Supreme Court

explained in Houghton:

      Ross summarized its holding as follows: “If probable cause justifies
      the search of a lawfully stopped vehicle, it justifies the search of every
      part of the vehicle and its contents that may conceal the object of the
      search.” Id., at 825, 102 S.Ct. 2157 (emphasis added). And our later
      cases describing Ross have characterized it as applying broadly to all
      containers within a car, without qualification as to ownership. See
      California v. Acevedo, 500 U.S. 565, 572, 111 S.Ct. 1982, 114
      L.Ed.2d 619 (1991) (“This Court in Ross took the critical step of
      saving that closed containers in cars could be searched without a
      warrant because of their presence within the automobile”); United
      States v. Johns, 469 U.S. 478, 479-480, 105 S.Ct. 881, 83 L.Ed.2d 890
      (1985) (Ross “held that if police officers have probable cause to
      search a lawfully stopped vehicle, they may conduct a warrantless
      search of any containers found inside that may conceal the object of
      the search”).

Houghton, 526 U.S. 301. The Supreme Court also held “that police officers with

probable cause to search a car may inspect passengers’ belongings found in the car

that are capable of concealing the object of the search.” Id. at 307.

      Detective Zaragoza, Officer Lisenbee, and their team of officers had


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probable cause to search the white Ford truck. The evidence shows that Detective

Zaragoza had been told by the confidential informant of Mr. Alfaro’s desire to sell

methamphetamine in December of 2012. On January 22, 2013, at the direction of

Detective Zaragoza, the confidential informant placed a monitored and recorded

call to Mr. Alfaro concerning the purchase of methamphetamine. On January 23,

2013, Mr. Alfaro met with the confidential informant at the informant’s place of

business and an agreement was reached for the confidential informant to purchase

four ounces of methamphetamine for $1,200 per ounce. The negotiations and

agreement were heard and recorded by Detective Zaragoza. Mr. Alfaro left to get

his work truck and the methamphetamine and stated he would be back to deliver

the methamphetamine. Mr. Alfaro was followed to his home by the officers and

was seen obtaining his white Ford work truck.       The officers stopped the white

Ford truck on its way to the place of business of the confidential informant and

within forty yards of the place of delivery of the methamphetamine. This evidence

shows probable cause to issue a search warrant for the interior of the truck and for

any containers that could hold four ounces of methamphetamine.

      Additionally, the white Ford truck and its contents could have been searched

by the officers instant to the arrest of Mr. Alfaro. See New York v. Beltran, 453

U.S. 454 (1981) (holding that officers may search without a warrant, instant to a


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lawful custodial arrest, any portion of the interior of a vehicle from which the

arrestee has been removed); Arizona v. Gant, 556 U.S. 332 (2009) (holding that

police may search a vehicle instant to arrest of an occupant in two circumstances

where the arrestee is not secure and is within reaching distance of the passenger

compartment at the time of the search or when it is reasonable to believe that

evidence relevant to the crime of arrest might be found in the vehicle). Applying

the facts previously set forth, Detective Zaragoza, Officer Lisenbee, and the

officers of their team had reasonable cause to believe that methamphetamine would

be found in the white Ford work truck.

   D. The Statements of Mr. Beltran and Mr. Bernal and the Results of
      the Search of their Homes are not Precluded by the Stop and Search of
      the White Ford Truck.

      Mr. Beltran and Mr. Bernal contend that the statements made by them to law

enforcement and the results of consent searches of their homes should be

suppressed because they each contend the stop of the white Ford truck violated

their Fourth Amendment rights. No other reasons are stated in their Brief (#27)

and no case law is cited in the Brief in support of this contention. Evidence seized

as a result of an unlawful search and seizure can be suppressed or excluded as

“fruit of the poisonous tree.” United States v. Wong Son, 371 U.S. 471 (1963).

The traffic stop of the white Ford work truck in this case was based upon evidence


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which showed not only a reasonable suspicion of criminal activity but was upon

probable cause of criminal activity and did not violate the Fourth Amendment

rights of either Defendant.

                               RECOMMENDATION

      IT IS, THEREFORE, RESPECTFULLY RECOMMENDED that

Defendant Beltran’s Motion to Suppress (#27) and Defendant Bernal’s Motion to

Suppress (#45) be DENIED.

                                                 Signed: April 9, 2014




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                              Time for Objections

      The parties are hereby advised that, pursuant to 28, United States Code,

Section 636(b)(1)(C), and Rule 72, Federal Rules of Civil Procedure, written

objections to the findings of fact, conclusions of law, and recommendation

contained herein must be filed within fourteen (14) days of service of same.

Responses to the objections must be filed within fourteen (14) days of service

of the objections.      Failure to file objections to this Memorandum and

Recommendation with the district court will preclude the parties from raising such

objections on appeal. Thomas v. Arn, 474 U.S. 140 (1985), reh’g denied, 474 U.S.

1111 (1986); United States v. Schronce, 727 F.2d 91 (4th Cir. 1984), cert. denied,

467 U.S. 1208 (1984).




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